                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION (DETROIT)


In re:

SPENGLER, Carol Dawn,                                   Chapter 7
                                                        Case No. 17-51785-mlo
              Debtor.                                   Hon. Maria L. Oxholm
                                        /

          ORDER FOR ABANDONMENT OF MEMBERSHIP INTERESTS

         THIS MATTER having come before the Court upon the motion of Virginia

Commonwealth Bank for an order pursuant to 11 U.S.C. § 554(b) and F.R.B.P. 6007

requiring the Trustee to abandon the estate’s membership interests in two limited

liability companies, and it appearing from the certification filed pursuant to

LBR 9014-1 that notice of the motion was duly given and that no timely response to the

motion was filed and served, and the Court having been fully advised in the premises;

         NOW, THEREFORE,

         IT IS HEREBY ORDERED that the motion is granted, and the Trustee be, and

hereby is, compelled pursuant to 11 U.S.C. § 554(b) to abandon the estate’s interests in

Gilbert & Sullivan Enterprises, L.L.C., a Virginia limited liability company, and Athena

Vineyards, L.L.C., a Virginia limited liability company (together, the “LLCs”).

         IT IS HEREBY FURTHER ORDERED that the Trustee is deemed to have

abandoned the Debtor’s interest in the LLCs.


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